                IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA             :
                                     :
           v.                        :          1:24MJ304-1
                                     :
MIGUEL CONCEPCION BRITO              :


           MOTION BY THE UNITED STATES OF AMERICA
                   FOR DETENTION HEARING

     NOW COMES the United States of America and hereby moves for a

detention hearing pursuant to 18 U.S.C. § 3142(f) to determine whether any

condition or combination of conditions will reasonably assure the appearance

of defendant as required and the safety of other persons and of the community.

     1.    Eligibility of Case. This case involves a:

            ☒    crime of violence [18 U.S.C. § 3142(f)(1)(a)]

            ☐    maximum sentence life imprisonment or death [18 U.S.C. §
                 3142(f)(1)(B)]

            ☒    controlled substance offense punishable by ten years or more
                 in prison [18 U.S.C. § 3142(f)(1)(C)]

            ☐    felony, with two prior convictions in above categories [18
                 U.S.C. § 3142(f)(1)(D)]

            ☐    minor victim, or the possession or use of a firearm or
                 destructive device, or other dangerous weapon, or a failure
                 to register under 18 U.S.C. § 2250 [18 U.S.C. § 3142(f)(1)(E)]

            ☒    serious risk defendant will flee [18 U.S.C. § 3142(f)(2)(A)]




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            ☐     serious risk of obstruction of justice [18 U.S.C. §
                  3142(f)(2)(B)]

      2.    Reason for Detention. The court should detain defendant because

no conditions of release will reasonably assure (check one or both):

            ☒     the Defendant's appearance as required

            ☒     the safety of any other person and the community

      3.    Rebuttable Presumption.         The United States of America does

invoke the rebuttable presumption against defendant pursuant to 18 U.S.C. §

3142(e). The presumption applies because:

            ☒     there is probable cause to believe defendant has committed
                  a controlled substance offense punishable by ten years or
                  more in prison, or an offense under 18 U.S.C. § 924(c), 956(a),
                  or 2332b.

            ☐     the Defendant has a prior conviction for an "eligible" offense
                  committed while on pretrial bond. Eligible offenses are the
                  first five categories listed under Paragraph 1 of this motion.

            ☐     there is probable cause to believe that the Defendant
                  committed an offense involving a minor as a victim pursuant
                  to 18 U.S.C. § (1201, 1591, 2241, 2242, 2244(a)(1), 2245,
                  2251, 2251A, 2252(a)(1)-(3), 2252A(1)-(4), 2260, 2421-23, or
                  2425).

      4.    Time for Detention Hearing.         The United States of America

requests that the court conduct the detention hearing:

            ☐     at first appearance

            ☒     after continuance of 3 days (not more than 3).
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      5.      Temporary Detention. The United States of America moves the

Court to detain the defendant during any continuance and pending completion

of the detention hearing.

      6.      Other Matters.

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      WHEREFORE, the United States respectfully requests that the Court

hold a detention hearing in the above-captioned case and that it continue the

detention hearing for a reasonable period of time from the date of the

defendant's first appearance before a judicial officer to allow the United States

to prepare.

      This, the 15th day of August, 2024.

                                  SANDRA J. HAIRSTON
                                  United States Attorney



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